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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 CASA, INC. et al.,

                  Plaintiffs,

          v.
                                                          Case No.: 8:25-cv-00201-DLB
 DONALD J. TRUMP et al.,                                  Honorable Deborah L. Boardman

                  Defendants.




                          [PROPOSED] ORDER CERTIFYING CLASS

         Plaintiffs have asked this Court to certify this action as a class action. After reviewing the

parties’ submissions, the Court concludes that a class of “all children who have been born or will

be born in the United States on or after February 19, 2025, who are designated by Executive Order

14,160 to be ineligible for birthright citizenship, and their parents” should be certified under Rule

23(a) and (b)(2) of the Federal Rules of Civil Procedure. The Court finds that the class meets all

of the prerequisites of Rule 23(a). The Court further finds that defendants have acted on grounds

that apply generally to the class, so that final injunctive relief or corresponding declaratory relief

is appropriate respecting the class as a whole under Rule 23(b)(2). Finally, the Court concludes

that counsel from the Institute for Constitutional Advocacy and Protection and the Asylum Seeker

Advocacy Project are qualified to, and will fairly and adequately, represent the class under Rule

23(g).

         Therefore, it is hereby ORDERED that Plaintiffs’ Motion for Class Certification is

GRANTED.
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       It is further ORDERED that a class is CERTIFIED of “all children who have been born

or will be born in the United States on or after February 19, 2025, who are designated by Executive

Order 14,160 to be ineligible for birthright citizenship, and their parents” under Federal Rule of

Civil Procedure 23(b)(2).

       It is further ORDERED that Counsel for the Institute for Constitutional Advocacy and

Protection and the Asylum Seeker Advocacy Project are APPOINTED as class counsel.

       SO ORDERED, this _________ day of __________, 2025, at _____.



                                                     ______________________
                                                     Honorable Deborah L. Boardman
                                                     United States District Judge
